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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                           )
      v.                                    )          CR 115-077
                                           )
MELVIN HOWARD                              )
GEORGE CARTER                              )
JEROME FLOURNOY                            )
DEON JOHNSON                                )
BRANDON CHARLES WRIGHT                     )
HENRY LEE WASHINGTON                       )
TIMOTHY ANDRE WELLS                        )
JOHNNY BIVENS                              )
DOUGLAS MATTHEW POWELL                     )
EUGENE MICHAEL GROSS                       )
KENNY DANFORD                              )
MICHAEL SASSNETT                           )
                                       _________

                                       ORDER
                                       _________

      Counsel in the above-captioned case have advised the Court that all pretrial motions

have been satisfied or otherwise resolved besides Defendant Gross and Wright’s motions to

suppress. (See doc. no. 216) Therefore, all other motions besides Defendant Gross and

Wright’s motions to suppress are MOOT. (Doc. nos. 59-65, 67, 69-70, 72-73, 75-80, 116,

152-168, 172-178, 180-182, 184-186.)

      The Court will hold a hearing on both motions to suppress (doc. nos. 169, 183), on

Monday, November 9, 2015 at 10:00 a.m. in Courtroom One, Federal Justice Center, 600
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James Brown Boulevard, Augusta, Georgia.

      SO ORDERED this 26th day of October, 2015, at Augusta, Georgia.
